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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10                            SACRAMENTO DIVISION
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12
     UNITED STATES OF AMERICA,                2:04-cr-0004 MCE
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                 Plaintiff,
14
            v.                                STIPULATION AND ORDER
15                                            TO CONTINUE HEARING FOR
     CYNTHIA BARCELO BLAKE,                   CHANGE OF PLEA
16
                Defendant.
17   ____________________________/
18
19          THE PARTIES HEREBY STIPULATE AND AGREE that the hearing
20   for change of plea, now scheduled for January 10, 2006, shall be
21   continued to January 24, 2006, at 8:30 a.m.        The parties are
22   finalizing the plea agreement, and require additional time.
23          The parties further stipulate and agree that pursuant to
24   the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) & (B)(iv), time
25   is excluded from January 10, 2006, to January 24, 2006, to allow
26   ///
27   ///
28   ///
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1    continuity of counsel and reasonable time for counsel effectively
2    to prepare.
3           Dated: January 9, 2006
4
     /s/ MATTHEW STEGMAN                    /s/ SHANNAN DUGAN
5    MATTHEW STEGMAN                        SHANNAN DUGAN
     Assistant U.S. Attorney                Attorney for CYNTHIA BLAKE
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7
8           IT IS SO ORDERED.
9    Dated: January 10, 2006
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                                      _____________________________
12
                                      MORRISON C. ENGLAND, JR
13                                    UNITED STATES DISTRICT JUDGE

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